






Opinion issued November 6, 2008








In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-08-00845-CV

____________


CITY OF HOUSTON, Appellant


V.


DONALD M. DOLAN, Appellee






On Appeal from the 280th District Court

Harris County, Texas

Trial Court Cause No. 2007-77481






MEMORANDUM  OPINION

	Appellant has filed an unopposed motion to dismiss the appeal.  No opinion
has issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(1).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Justices Taft, Keyes, and Alcala.


